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United States Court of Appeals
For the First Circuit

NOTICE OF APPEARANCE

No. 23-1069 Short Title: Foote v. Ludlow School

The Clerk will enter my appearance as counsel on behalf of (please list names of all parties
represented, using additional sheet(s) if necessary):

 

 

 

 

 

 

Alliance Defending Freedom as the
[ ] appellant(s) [ ] appellee(s) [WV] amicus curiae
[ ] petitioner(s) [ ] respondent(s) [ ] intervenor(s)
/s/David A. Cortman March 20, 2023
Signature Date
David A. Cortman
Name
Alliance Defending Freedom 770-339-0774
Firm Name (if applicable) Telephone Number
1000 Hurricane Shoals Rd. NE, Ste D1100
Address Fax Number
Lawrenceville, GA 30043 dcortman@ADFlegal.org
City, State, Zip Code Email (required)

Court of Appeals Bar Number: 1139146

Has this case or any related case previously been on appeal?

[¥] No [ ] Yes Court of Appeals No.

 

 

Attorneys for both appellant and appellee must file a notice of appearance within 14 days of case
opening. New or additional counsel may enter an appearance outside the 14 day period; however, a notice of
appearance may not be filed after the appellee/respondent brief has been filed without leave of court. Ist Cir.
R. 12.0(a).

Counsel must complete and file this notice of appearance in order to file pleadings in this court.
Counsel not yet admitted to practice before this court must promptly submit a bar application. Ist Cir. R.
46.0(a)(2).
